Case 2:20-cv-11718-GAD-DRG ECF No. 44-2, PagelD.1108 Filed 01/31/22 POP SHIBIT 23

Loretta Robichaud

From: Loretta Robichaud

Sent: Tuesday, May 7, 2019 5:11 PM

To: Margit Chadwell; M Jackson; Michael Webber, Kathleen Connors; Christopher P. Steffes
Subject: FW: Promotions Letter

FYI. Update. Re’ Anthony Eid.

From: Vickie Muhammad

Sent: Tuesday, May 07, 2019 5:04 PM

To: Anthony Eid <aeid@med.wayne.edu>

Cc: Richard Baker <rbaker@med.wayne.edu>; Loretta Robichaud <lrobicha@med.wayne.edu>; Marlena Frontera
<2¢6461@wayne.edu>; 'rdellis@wayne.edu'

Subject: RE: Promotions Letter

Dear Mr. Eid,

Dr. Baker did agree to meet with you on March 6, 2019 to again explain your options to you. He did not, however,
change the SOM policy in that regard. Your choice, which was clearly articulated to you both in his dismissal letter of
February 27, 2019 and in your meeting of March 6, 2019 was this: (1) You had the option of withdrawing by March 14,
2019, which would have been 10 business days after receipt of the dismissal letter; or (2) you could appeal to the
Promotions Committee and then to the Provost.

Once you take an appeal, even if it is only the first step in the appeal, i.e. to the Promotions Committee, the option of
withdrawing is no longer available, This policy applies to all students who are dismissed pursuant to a hearing by the
Promotions Committee.

Since you chose to appeal, the option of withdrawing is no longer available.

Sincerely,
Ms. Muhammad

SLECSELES AES ERSESEL RET ELESE

Vickie Muhammad
Vickie Muhammad
WY Manager & Assistant to Dr. Richard Baker

Vice Dean for Medical Education
WAYNE STATE 540 E. Canfield | 1209 Scott Hall | Detroit | MI | 48201
School of Medicine (4). 343.577-5196] (f): 313-577-6474] vmuhamme@med_.wayne.edu

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150 YEARS

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From: Anthony Eid <aeic @med.wayne.edu>
Sent: Monday, May 6, 2019 11:33 AM

Subject: Re: Promotions Letter

Hello Ms. Muhammad,

I was told by Dr. Baker that I would still have the option to withdrawal if the appeal to
the promotions committee was unsuccessful. The email and letter that I was sent did not
have any information about how to do this.

Could you ask Dr. Baker about how I should go about the withdrawal? I am leaning
towards doing that instead of further appealing to the Provost.

Thanks you,
-Anthony

On Apr 10, 2019, at 5:50 PM, Vickie Muhammad <vmuhamme@med.wayne.edu>
wrote:

<image001.gif>

Dear Mr. Eid,

The Promotions Committee reviewed your appeal at its meeting held today, Wednesday, April 10, 2019;
and, attached is your letter with its decision. For any questions you may have, please contact the
Ombudsperson noted in your letter.

Sincerely,
Ms. Muhammad

KESECRECREREKE ES SESELELT ESAS

Vickle Muhammad

Vickie Muhammad
Manager & Assistant to Dr. Richard Baker
<image002.jpg> Vice Dean for Medical Education
540 E, Canfield | 1209 Scott Hall | Detroit | MI | 48201
(p): 313-577-5196] (f}; 313-577-6474) vmuhamme@med.wayne.edu

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WSU / Eid 000703
